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                                   1                               UNITED STATES DISTRICT COURT
                                   2                          NORTHERN DISTRICT OF CALIFORNIA
                                   3

                                   4    DANA GOLD, et al.,
                                                                                      Case No. 14-cv-05373-TEH
                                   5                 Plaintiffs,
                                                                                      ORDER GRANTING DEFENDANT'S
                                   6           v.                                     ADMINISTRATIVE MOTION FOR
                                                                                      LEAVE TO FILE SURREPLY IN
                                   7    LUMBER LIQUIDATORS, INC.,                     OPPOSITION TO PLAINTIFFS'
                                                                                      MOTION FOR CLASS
                                   8                 Defendant.                       CERTIFICATION
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                                             The Court is in receipt of the Parties’ Joint Stipulation for an Order Granting
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                                       Defendant’s Administrative Motion for Leave to File a Surreply in Opposition to
                                  12
Northern District of California
 United States District Court




                                       Plaintiffs’ Motion for Class Certification and Defendant’s corresponding administrative
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                                       motion. ECF Nos. 149–50. Having considered these submissions and finding good cause,
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                                       the Court hereby GRANTS Defendant’s motion. The Defendant shall file its surreply no
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                                       later than May 22, 2017.
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                                             In addition, it is further ordered that the hearing scheduled for May 22, 2017 is
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                                       hereby VACATED and rescheduled to June 5, 2017.
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                                       IT IS SO ORDERED.
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                                       Dated: 5/17/17                             _____________________________________
                                  22                                               THELTON E. HENDERSON
                                                                                   United States District Judge
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